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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
NEM/ALK/RSB                                           271 Cadman Plaza East
F. #2017R00089                                        Brooklyn, New York 11201


                                                      January 17, 2024
By ECF

The Honorable Rachel P. Kovner
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Amador-Rios et al.
                       Criminal Docket 18-398 (S-3) (RPK)

Dear Judge Kovner:

                The government submits this letter in advance of the defendant Josue Leiva’s
sentencing, which is scheduled for January 23, 2024 at 4:00 p.m. On July 14, 2023, Leiva pleaded
guilty, pursuant to an agreement under Federal Rule of Criminal Procedure 11(c)(1)(C), to Count
One of the Third Superseding Indictment, which charged him with racketeering. As part of the
agreed-upon pattern of racketeering activity, Leiva admitted to his participation in the murder of
sixteen-year-old Julio Vasquez and the armed robbery of El Riconsito Catracho Grocery (“El
Riconsito”) in Queens, New York. For the reasons set forth below, the government recommends
that the Court impose the agreed-upon sentence of 420 months’ imprisonment followed by a period
of five years supervised release.

   I.      Background

                The defendant’s conviction stems from crimes he committed as a member of La
Mara Salvatrucha, also known as MS-13. MS-13 is a violent transnational criminal organization
with members located throughout Long Island, Queens, and other parts of New York, as well as
in other parts of the United States. Members and associates of MS-13 have engaged in acts of
violence, including murder, attempted murder, robbery, and assault, as well as other criminal
activity, including narcotics trafficking, extortion, witness tampering, and witness retaliation. MS-
13 operates through chapters, or “cliques,” throughout the United States, which report and funnel
money to a central leadership. Gang membership is considered a lifetime commitment, with only
rare exceptions that allow individuals to leave the gang. Clique members often carry out directives
from regional, national and international MS-13 leaders, including orders to kill witnesses, rival
gang members, and potential cooperating or defecting MS-13 members. MS-13 cliques assist each
other in carrying out violent crimes, harboring fugitives, acquiring firearms, distributing narcotics
and other criminal activity.
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       A.      The Defendant’s Role in MS-13

                Leiva joined the Centrales Locos Salvatruchas clique of MS-13 (“CLS”) as a
“chequeo,” or low-level member in approximately 2016. He was promoted to “homeboy,” or a
full-fledged member, for murdering Julio Vasquez in May 2017, and was a “homeboy” when he
participated in the January 2, 2018 robbery of El Riconsito. Leiva’s residence was the meeting
place after each of the armed robberies he and his co-conspirators committed in early 2018, and
some of the clique guns were stored there, further evidencing his deep involvement in the gang.

       B.      Murder of Julio Vasquez

               On the night of May 16, 2017, the defendant and co-defendants Melvi Amador Rios
(“Melvi”) and Luis Rivas lured sixteen-year-old Julio Vasquez, a CLS “chequeo,” to Alley Pond
Park to murder him. Once inside the park, Leiva and Rivas stabbed Vasquez repeatedly in the
back, torso and neck and then left his body there.

                 About five days later, on the morning of May 21, 2017, a bird watcher found
Vasquez’s decomposing body. An autopsy revealed that Vasquez suffered at least 34 sharp force
injuries to his back and torso, which resulted in injuries to his left lung and liver. Vasquez also
suffered numerous sharp force injuries to his neck, many of which were deep enough to cause
slash marks on his vertebrae. The medical examiner observed that Vasquez’s carotid artery—
which is located deep in the neck, behind muscles—was completely severed. The medical
examiner determined that the manner of Vasquez’s death was a homicide caused by sharp force
injuries to his neck and torso.

               Melvi ordered Vasquez’s murder because Vasquez had disobeyed Melvi’s order to
kill another CLS chequeo who had fallen into poor standing with CLS. Melvi chose Vasquez to
carry out that murder because Vasquez was also in poor standing with the clique for a variety of
reasons. Melvi purportedly intended to forgive Vasquez’s transgressions if he carried out Melvi’s
order to murder the other CLS chequeo. Melvi gave Vasquez one week to carry out the murder,
but Vasquez failed to do so. When Vasquez failed to meet the murder deadline, Melvi, Rivas and
Leiva lured Vasquez to Alley Pond Park and murdered Vasquez.

                 Leiva boasted about his participation in the murder on multiple occasions. Leiva
told Santos Amador Rios (“Santos”), Melvi’s brother and fellow CLS member, that Leiva stabbed
Vasquez over twenty times and that Vasquez had defecated on himself. Leiva also confessed to a
friend that Melvi ordered Vasquez’s murder because Vasquez had been arrested for a gun but then
released and was thus suspected of cooperating; that Leiva and Rivas lured Vasquez into the park
by telling Vasquez they were going to attack rival gang members; and that, after luring him into
the park, Leiva and Rivas stabbed Vasquez repeatedly on his body and neck and, when he did not
die, slit his throat. During the violent attack, Vasquez pleaded and told them they were wrong
about his suspected cooperation. Unmoved, Leiva and Rivas stabbed Vasquez to death.

       C.      Armed Robbery

               Leiva also carried out an armed robbery of El Riconsito with other MS-13 members
and associates on January 2, 2018. During the robbery, Leiva and another MS-13 member were
armed with guns. Leiva, Santos and the other MS-13 member entered the store wearing black

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gloves and ski-masks. Leiva and the other MS-13 member pointed their guns at the owner, who
was sitting at the cash register. Santos went behind the counter and stole money from the register.
During the robbery, a customer entered the store and Leiva grabbed the customer and held him at
gun point. They stole between $1,000 to $2,000. After the robbery, they went back to Leiva’s
house and divided the money.

               On January 8 and 12, 2018, members of MS-13 including Melvi, Santos, Rivas and
Yan Carlos Ramirez robbed two other delis in Jamaica, Queens, at gun point. After each robbery
they went back to Leiva’s residence, where he lived with two other members of MS-13, and
divided the money. Guns recovered from Leiva’s residence months later appear to be guns used
in the above-described robberies.

   II.        Guidelines Calculation

                The government agrees with the Guidelines calculation set forth in the Presentence
Investigation Report (“PSR”), which finds the advisory Guidelines range is 360 months to life.1
Specifically, the adjusted offense level for Racketeering Act 5B (Murder of Julio Vasquez) is 43,
and the adjusted offense level for Racketeering Act 6 (Hobbs Act Robbery) is 25. PSR ¶¶ 73-86,
The combined adjusted offense level is 43. PSR ¶ 90. With acceptance of responsibility, the
defendant’s offense level is decreased by two levels.2 Accordingly, the total adjusted offense level
is 41. PSR ¶ 93. As to the defendant’s criminal history category, the government agrees that,
under the Amendments to the Sentencing Guidelines which became effective on November 1,
2023, the defendant has fewer than six criminal history points and thus is no longer subject to the
two additional status points for committing the instant offense while under a criminal justice
sentence. See PSR ¶ 100 n.1; U.S.S.G. §4A1.1(e). Therefore, the defendant has three criminal
history points, and his criminal history category is II. However, the Guidelines imprisonment
range remains 360 months to life. See PSR ¶¶ 98-100 & n.1.

   III.       Discussion

               For the reasons set forth below, the government respectfully requests that the Court
impose the agreed-upon sentence of 420 months’ imprisonment followed by a period of five years
supervised release. Such a sentence is appropriate given the nature and circumstances of the
offense, the history and characteristics of the defendant, the need for the sentence to reflect the




          1
               The PSR incorrectly states that the agreed-upon sentence of 420 months’
imprisonment is below the advisory Guideline range. PSR ¶ 4. The government respectfully
requests that the PSR be amended to state that the agree-upon sentence is within the advisory
Guideline range.
          2
               Because the defendant pleaded guilty after juror questionnaires had been completed
and three days before in-person jury selection began, the government does not intend to move for
an additional one-level reduction pursuant to Guideline § 3E1.1(b). The PSR correctly does not
include the extra one-level reduction in its Guidelines calculation.


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seriousness of the offenses, to promote respect for the law, to provide just punishment, to afford
adequate deterrence and to protect the public.

                Section 3553(a) requires sentencing courts to consider a number of factors in
imposing sentence, including the nature and circumstances of the violation and the history and
characteristics of the defendant; the need for the sentence to reflect the seriousness of the violation,
promote respect for the law, and provide just punishment; the need for the sentence to adequately
deter criminal conduct; the need to protect the public from further crimes of the defendant; and the
need to provide the defendant with needed education, vocational training, medical care and/or
other correctional treatment in the most effective manner. Sentencing courts must also consider
the kinds of sentences available, the applicable Guidelines and pertinent policy statements, and the
need to avoid unwarranted sentencing disparities.

                Here, the agreed-upon sentence, which the defendant and the U.S. Probation
Department urge the Court to impose as well, reflects the nature and circumstances of the offenses
and the history and characteristics of the defendant, avoids unwarranted sentencing disparities, and
promotes general and specific deterrence. See 18 U.S.C. § 3553(a). The defendant’s crimes were
horrific, senseless, and reflect his utter disregard for human life. The defendant, Melvi and Rivas
lured Vasquez, a sixteen-year-old boy to Alley Pond Park where the defendant and Rivas savagely
stabbed him while he pleaded for his life. Vasquez was nearly decapitated, and his body was left
to rot. His mother and his siblings were left to worry about him for days until a birdwatcher
happened upon his decomposing body.3 Afterwards, the defendant bragged about his senseless
violence and was promoted within the gang for his part in the murder.

               The defendant’s armed robbery was also terrifying for the victims. He held a store
owner and a customer at gunpoint for his own selfish enrichment and created a serious risk that
someone would be fatally injured. The victims live with lasting trauma even though the robbery
occurred approximately six years ago. As one victim testified at trial: “it’s really been very hard.
It’s hard for me. It’s left me psychologically damaged to the point that when I see two or three
guys passing by, I get afraid. I get scared.” Tr. 617:20-23.

               Although the defendant pleaded guilty shortly before trial, he has not demonstrated
any remorse for the brutal murder of Vasquez, or for traumatizing the victims of the armed robbery
he committed—both of which have had profound and lasting impact on the victims and their
families and friends, as well as the many witnesses and community members who were touched
by the violence. The agreed upon sentence is sufficient to bring a measure of justice to Julio
Vasquez, his family and loved ones, and to the community the defendant and his confederates
further tore apart and terrorized with years of needless violence. Likewise, imposition of the
agreed upon sentences is needed to protect the community and as a significant deterrent, both as a
sign to the community and the defendant that gang-related violence fueling violent turf wars, as
well as brazen, brutal murders and robberies such as those he committed are not tolerated under
the law. Individuals hoping to impress gang members and other racketeering enterprises by
committing violence should know of the potential consequences. The allure of joining a notorious

       3
              A victim impact statement provided by Vasquez’s mother in connection with the
sentencing of Melvi Amador Rios is enclosed under seal.


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enterprise like MS-13—and committing violence on its behalf—should be outweighed by the
prospect of a significant sentence.

      IV.      Conclusion

               For the foregoing reasons, the government respectfully asks the Court to impose a
term of imprisonment of 420 months to be followed by a period of five years supervised release.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

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cc:         Clerk of Court (RPK)
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